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IN THE UNITED STATES DISTRICT COURT /
FOR THE EASTERN DISTRICT OF PENNSYLVANIA /

 

 

DONALD VOGAN

Plaintiff, Civil Action No.

vs.

PENNCRO ASSOCIATES, INC.

 

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Defendant.
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COMPLAINT — bep. Clers
I. INTRODUCTION
1. This is an action for damages brought by an individual consumer against

Defendant for violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.
(hereafter the “FDCPA”). The FDCPA prohibits debt collectors from engaging in abusive,
deceptive, and unfair collection practices.
II. JURISDICTION AND VENUE

2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,
1337, and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.

3. Venue lies in this district pursuant to 28 U.S.C. § 1391(b).

Il. PARTIES

4, Plaintiff Donald Vogan is an adult individual residing at 200 Cheyenne Street,
Gardner, KS 66030.

5. Defendant Penncro Associates, Inc. is a business entity regularly engaged in the
business of collecting debts in this Commonwealth with a principal place for accepting service

located at 95 James Way, Suite 113, Southampton, PA 18966. The principal purpose of
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Defendant is the collection of debts using the mails and telephone, and Defendant regularly
attempts to collect debts alleged to be due another.
IV. FACTUAL ALLEGATIONS

6. At all times pertinent hereto, Defendant was hired by FIA Card Services, N.A., to
collect a debt relating to consumer purchases that were allegedly originally owed to FIA Card
Services, N.A. (hereafter the “debt”).

7. The debt at issue arises out of an alleged transaction which was primarily for
personal, family or household purposes.

8. On or about June 5, 2007, Defendant contacted Plaintiff in an attempt to coerce
payment of the debt. During the conversation, Plaintiff indicated he was unable to make a
payment on the debt at that time. Additionally, Plaintiff indicated he would not be able to even
contemplate making a payment for at least two weeks.

9. Notwithstanding the above, on or about June 7, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse
such persons contacted. During the conversation, Plaintiff again stated he was unable to make a
payment at that time.

10. Notwithstanding the above, on or about June 8, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse
such persons contacted, including but not limited to twice more that day.

ll. Notwithstanding the above, on or about June 9, 2007, at 10:00 a.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,

and abuse such persons contacted.
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12. In response to the above, on or about June 9, 2007, at 2:00 p.m., Plaintiff
contacted Defendant. During the conversation, Plaintiff again indicated he was unable to make a
payment on the debt.

12. Notwithstanding the above, on or about June 9, 2007, at 5:35 p.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted. During the conversation, Plaintiff told Defendant that he had
already spoken with it that day. In response, Defendant apologized and disconnected the phone
call.

13, Notwithstanding the above, on or about June 9, 2007, at 5:47 p.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted. During the conversation, Plaintiff told Defendant that he had
already spoken with it that day. In response, Defendant disconnected the phone call.

14. Notwithstanding the above, on or about June 9, 2007, at 7:00 p.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted. During the conversation, Plaintiff questioned why Defendant
continued to call him. In response, Defendant falsely indicated that it had no record of any
contacts made to Plaintiff that day.

15, Notwithstanding the above, on or about June 10, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse

such persons contacted.
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16. Notwithstanding the above, on or about June 10, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse
such persons contacted.

17. Notwithstanding the above, on or about June 12, 2007, at 9:45 a.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted. During the conversation, Plaintiff again indicated he was
unable to make a payment at that time.

18. Notwithstanding the above, on or about June 12, 2007, at 6:30 p.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted.

19. Notwithstanding the above, on or about June 12, 2007, at 8:14 p.m., Defendant
contacted Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass,
and abuse such persons contacted. During the conversation, Plaintiff was upset that Defendant
had contacted Plaintiff again, and reminded Defendant that he was unable to make a payment at
that time. In response, Defendant stated it would mark Plaintiff down as “refusing” to pay.
Plaintiff and Defendant began to argue about whether Plaintiff had refused to pay. In concluding
the conversation, Defendant indicated it would not call Plaintiff for 24 hours.

20. Notwithstanding the above, on or about June 13, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse
such persons contacted, including but not limited to 9:44 a.m., 3:49 p.m., and 5:48p.m. During
each contact, when Plaintiff would answer the phone, Defendant would immediately disconnect

the call.
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21, Notwithstanding the above, on or about June 14, 2007, Defendant contacted
Plaintiff in an attempt to coerce payment of the debt, with the intent to annoy, harass, and abuse
such persons contacted, including but not limited to once more that day.

22. Following the above, Defendant continued to contact Plaintiff in an attempt to
coerce payment of the debt, with the intent to annoy, harass, and abuse such persons contacted,
including but not limited to once more that day.

23. The Defendant acted in a false, deceptive, misleading and unfair manner when
they engaged in conduct the natural consequence of which is to harass, oppress, or abuse such
person in connection with the collection of a debt, including but not limited to contacting
Plaintiff no less than eighteen (18) times during a nine (9) day period.

24, The Defendant knew or should have known that their actions violated the
FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and their
agent’s actions within compliance of the FDCPA, but neglected to do so and failed to adequately
review those actions to insure compliance with said law.

25, At all times pertinent hereto, Defendant was acting by and through its agents,
servants and/or employees, who were acting within the scope and course of their employment,
and under the direct supervision and control of the Defendant herein.

26. At all times pertinent hereto, the conduct of Defendant as well as its agents,
servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton
disregard for federal and state law and the rights of the Plaintiff herein.

27. As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiffs reputation, invasion of privacy, damage to
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Plaintiffs credit, out-of-pocket expenses, physical, emotional and mental pain and anguish and
pecuniary loss and they will continue to suffer same for an indefinite time in the future, all to
their great detriment and loss.
Vv. CLAIMS
COUNT ONE - FDCPA

28. Plaintiff incorporates the foregoing paragraphs as though the same were set forth
at length herein.

29. Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) of the FDCPA.

30. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

31. | The above contacts by Defendant were “communications” relating to a “debt” as
defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the FDCPA.

32. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, violations of 15 U.S.C. §§ 1692d, 1692d(5), 1692e, 1692e(10), and 1692f, as
evidenced by the following conduct:

(a) Engaging in conduct the natural consequence of which is to harass,
oppress or abuse any person in connection with the collection of a debt;

(b) Causing a telephone to ring or engaging any person in conversation
repeatedly or continuously with intent to annoy, abuse, or harass any
person at the called number; and

(c) Otherwise using false, deceptive, misleading and unfair or unconscionable

means to collect or attempt to collect the alleged debt from the Plaintiff.
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33. Defendant’s acts as described above were done with malicious, intentional,
willful, reckless, wanton and negligent disregard for Plaintiffs rights under the law and with the
purpose of coercing Plaintiff to pay the alleged debt.

34. As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff
in the sum of Plaintiffs statutory damages, actual damages and attorney’s fees and costs.

WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

(a) That an order be entered declaring that the Defendant’s actions as
described above are in violation of the FDCPA;

(b) That an order be entered enjoining Defendant from continuing to
communicate with Plaintiff in violation of the FDCPA;

(c) That judgment be entered against Defendant for statutory damages
pursuant to 15 U.S.C. § 1692k(a)(1);

(d) That judgment be entered against Defendant for actual damages pursuant
to 15 U.S.C. § 1692k(a)(2)(A);

(e) That the Court award costs and reasonable attorney’s fees pursuant to 15
U.S.C. § 1692k(a)(3); and

(f) That the Court grant such other and further relief as may be just and proper.
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VII. JURY TRIAL DEMAND

35. Plaintiff demands trial by jury on all issues so triable.

BY:

Dated: November 16, 2007

Respectfully submitted,
FRANCIS & MAILMAN, P.C.

/s/ Mark D. Mailman

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